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  13                        UNITED STATES DISTRICT COURT
  14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15

  16 SUSAN RANDOLPH,                              CASE NO.: 2:20-CV-05546-RGK-SK
  17                                                  Judge: Hon. R. Gary Klausner
  18 Plaintiff,
                                                      Magistrate: Hon. Steve Kim
  19
       V.
  20
       PRINCESS CRUISE LINES, LTD.                JOINT STIPULATION PURSUANT
  21                                              TO FED.R.CIV.P.41(a(1)(A)(ii) TO
                    Defendant                     DISMISS COMPLAINT
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  23                                              Judge: Hon. R. Gary Klausner
                                                  Magistrate: Hon. Steve Kim
  24

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  26
             WHEREAS, the parties have reached a settlement of all claims by all

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       Plaintiff against all Defendants and have agreed jointly to stipulate to the dismissal

  28
       of the Complaint in its entirety in accordance with Fed. R. Civ. P. 41(a)(1)(A)(ii).

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   1        NOW THEREFORE, it is hereby stipulated as follows:
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   3        The Complaint shall be dismissed in accordance with Fed.R. Civ. P.
   4 41(a)(1)(A)(ii) with prejudice and without costs to any party, and the Court shall

   5 retain jurisdiction to enforce the settlement.

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   7        IT IS SO STIPULATED.
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   9        Dated; July 28, 2021
  10

  11                                         Debi F. Chalik
  12
                                             CHALIK AND CHALIK, P.A.
                                             Attorneys for Plaintiff
  13                                         10063 N.W. 1st Court
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  16
                                             By /s/ Debi F. Chalik
                                                    DEBI F. CHALIK
  17                                                Florida Bar No. 179566
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  23                                         By:_________________________
  24                                         MICHAEL A. SIMMRIN
                                             California Bar No.238092
  25

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   1 Dated: July 28, 2021             Maltzman & Partners
   2                                  By: /s/ Jeffrey B. Maltzman
   3                                      Jeffrey B. Maltzman
                                          Rafaela Castells
   4                                      Ed Nield
   5                                      Gabrielle Nield

   6                                   ARNOLD & PORTER KAYE SCHOLER LLP
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                                      By: /s/ Jonathan W.Hughes
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  15                                       Cruise Lines LTD.
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